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        In the United States Court of Federal Claims
  * * * * * * * * * * * * * * * * **
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  IAP WORLDWIDE SERVICES INC.,              *
                                            *
                                            *
                    Protestor,              *
                                              No. 18-400C
                                            *
  v.                                          Filed: April 27, 2018
                                            *
  UNITED STATES,                            *
                                            *
                    Defendant.              *
                                            *
  * * * * * * * * * * * * * * * * **

                                       ORDER

       On April 9, 2018, the court issued an oral decision in the above captioned protest
which DENIED protestor’s motion for judgment on the administrative record and
GRANTED defendant’s cross-motion for judgment on the administrative record.
Consistent with the April 9, 2018 decision, the court ORDERS that the above-captioned
protest be DISMISSED.


       IT IS SO ORDERED.

                                                    s/Marian Blank Horn
                                                    MARIAN BLANK HORN
                                                             Judge
